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                        UNITED STATES DISTRICT COURT 

                        FOR THE DISTRICT OF COLUMBIA 

                                        ) 

GEORGE WEBB SWEIGERT                    )      Civil Action 1:17-cv-02330-(RC) 

      Plaintiff(s)                      )      Filed 2/4/2017 

         vs.                            )      Judge Rudolph Contreras 

JOHN PODESTA, et al.                    ) 

      Defendant(s)                      ) 

 

         RESPONSE IN OPPOSITION TO DEFENDANT HASEEB RANA’S 


                               MOTION TO DISMISS  


1)    With regard to the Defendant Haseeb Rana’s Motion to Dismiss filed on 

December 18th, 2017 , I would like to outline the fundamental question before the court 

in the conspiracy to commit fraud before addressing the individual motions to dismiss. 

Quite simply, the fundamental question before the court is “did a conspiracy to commit 

fraud exist between Hillary For America, the Democratic National Committee, Fusion 

GPS, the Podesta Group, to commit fraud against the America people”. In the words of 

the Chairman that took over for these principal conspirators of the Democratic National 

Committee, Donna Brazille, the process was “rigged”, with a secret Joint Funding 

Agreement signed in late September of 2015, which allowed the sweeping of donations 

intended for Bernie Sanders and key recruiter and donor data in an system known as 

NGP/VAN to be swept up to Hillary For America from DNC Servers as frequently as 
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once per hour. Chairman of Hillary for America, John Podesta, Vice Chairwoman of 

Hillary for America, Huma Abedin, and Chairwoman of the DNC, Debbie Wasserman 

Schultz were fully aware these sweeps of donations intend for Bernie Sanders and 

critical recruiting and donation data were being swept up on an hourly basis from DNC 

headquarters on Capitol Street in Washington, DC. Donors and volunteers for Bernie 

Sanders and progressive Congressional candidates who supported Bernie Sanders 

policies had no idea their donations were instead going directly to Hillary For America 

and Hillary For America hand picked Congressional candidates. 


Individual defenses up to this point have not addressed the fundamental question of 

conspiracy to commit fraud at all, but instead have tried to divide the Court ability to 

see the simple conspiracy for what it is by dividing to the Court’s attention to corner 

cases of distantly related case law. Four key Defendants have simply chosen to avoid 

service to avoid the question all together. The four key tests for fraud have been fully 

satisfied in the initial complaint along with the requirements for a RICO conspiracy 

which binds all defendants as a whole in this case. One - false statements were made - 

in essence donors were convinced they were donating to Bernie Sanders and 

Congressional candidates which supported Sander progressive agenda, two - the key 

conspirators knew these representations to be false,, three - the conspirators knew the 

public and donors would rely on these false representations in making $228,000,000 in 

donations to Bernie Sanders, and four - there was a clear injury in fact from this fraud. 

With recent disclosures that the FBI may have assisted the DNC to hire Fusion GPS to 

hire foreign operatives to prepare a several “salacious and unreliable” dossiers in the 
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words of then FBI Directors James Comey, for submission of four FISA applications on 

this Court. The Plaintiff now believes that these conspirators has already committed 

four act of Fraud on the Court through confederate, bad actors at the FBI and DOJ. We 

are more convinced than ever that discovery will lead to clear and convincing evidence 

of this conspiracy to commit fraud. ​Haines v. Kerne (1972)​ states a pro se has more 

opportunity for discovery given the inequality of status between the Plaintiff and the 

large Corporate and Government entities in the Defense.   


Courts are guided by the principle that pro se plaintiffs are usually subjected to less exacting 
standards than plaintiffs who are represented by attorneys. Haines v. Kerner, 404 U.S. 519, 520, 
92 S. Ct. 594 (1972). “[D]istrict courts have . . . strong incentives for ensuring adequate 
representation for pro se plaintiffs.” Ficken v. Alvarez, 331 U.S. App. D.C. 37, 146 7 F.3d 978, 
981 (D.C. Cir. 1998). However, this enduring legal principal does not relieve an unrepresented 
plaintiff of the burden of establishing her prima facie case. See, e.g., Moore v. Agency for Int’l 
Dev., 301 U.S. App. D.C. 327, 994 F.2d 874, 876 (D.C. Cir. 1993).  
 


In addition, upon information and believe from several news articles, Defendant 

Abedin may have forward key passwords to Classified State Dept systems such as 

PRISM and Palantir to an insecure Yahoo email account after several well publicized 

attacks occured, making this crucial system access available to Russian hackers. 


Huma Abedin Forwarded Top Secret Passwords To Yahoo Account Hacked 
By Russian With Odd Clinton Connection 

https://www.zerohedge.com/news/2018-01-02/huma-abedin-forwarded-top-secret-p

asswords-yahoo-account-hacked-russian-odd-clinton 
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When these potential leaks of national security passwords to State Department are 

leaked to foreign actors, as host of pay to play scenarios were enabled with reciprocal 

donations being made to Hillary For America. 


Huma Abedin’s Forwarded Passwords and Trump’s Call for Jail 
President’s blast of Clinton aide follows disclosure that in 2009, she forwarded 
State Department login instructions to a personal email account 

https://www.wsj.com/articles/trump-calls-for-jail-for-clinton-aide-over-emailed-pass

words-1515015745 


2) With particular regard to Defendant Rana’s Motion to Dismiss, objections are raised 

failure to state a cause of action and jurisdiction. Haseeb Rana was the handpicked 

successor to Imran Awan and Rao Abbas in the House of Representatives for password 

access to Representative email and documents, three of which sat on key Intelligence 

and Homeland Security Committees. Upon information and belief, Defendant Haseeb 

Rana was not properly vetted and had no Classified Security clearance, yet handled 

Classified documents on a regular basis. Recent FBI reports have cited Classified 

information moving from Washington, DC and the State Department to Defendant 

Abedin’s Blackberry device and then to her husband’s unsecure laptop. FBI reports 

delineate over 2,100 classified documents being moved from Washington, DC to Hillary 

For America to Mrs. Abedin’s Blackberry device in New York.   


Classified documents among newly released Huma emails found on 
Weiner’s laptop 
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https://nypost.com/2017/12/29/classified-documents-among-newly-released-huma-a

bedin-emails-found-on-weiners-laptop/ 


The Plaintiff alleges this connection was accomplished through the hacking of the Awan 

Spy Ring in Congress, of which Defendant Hasseb Rana was a key part, and the 

connection of the DNC servers in Washington, DC to the Hillary For America services 

in Brooklyn, New York. A clear cause of action is stated by this illegal sweeping of 

DNC money, data and national secrets to Brooklyn, New York. Jurisdiction is 

determined by where they original crime took place - South Capitol Street in 

Washington, DC. Shawn McCluskie, a key aide to Representative Xavier Becerra, has 

stated he tried to solve the 5,400 unauthorized logins to the Congressional Caucus 

servers himself rather that call the FBI with these illegal logins by the Defendant Imran 

Awan began concurrently with the Joint Funding Agreement being signed in October of 

2015. 


Becerra Tried To Block Server Admin Over Red Flags, But Logins Continued, 

With Muted Reaction 

http://dailycaller.com/2017/12/11/becerra-tried-to-block-server-admin-over-red-flags-but-logins-c
ontinued-with-muted-reaction/?utm_campaign=atdailycaller&utm_source=Twitter&utm_medium
=Social

 
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Objections around Class for the John Doe and Jane Doe Plaintiffs are nullified by the 

Defendant’s efforts to secure representation for this Class of injured Plaintiffs. The 

Plaintiff has conducted a continuous daily campaign to discovery Plaintiffs in all 435 

Congressional Districts of the United States - achieving both numerosity and diversity 

of Class. Currently, 47,000 subscribes to follow the developing case on the Plaintiffs 

news channel on YouTube where daily updates to the case are given. Negotiations with 

counsel base here in Washington DC to represent the injured class are well under way 

and should be achieved soon for the discovery phase of this civil action. 


3)     The Plaintiff’s Complaint is a derivative of Wilding et al vs Debbie Wasserman 

Schultz, DNC, ​0:2016cv61511​ from a year prior in which an Appeals Court has ruled 

the case can proceed due to sufficient Standing. The key difference with this Complaint 

is the Plaintiff presents the actual monetary damages and the Plaintiff presents much 

more evidence of fraud and detrimental reliance on the DNC and Debbie Wasserman 

Schultz with new evidence that has come to light in the last year.   


4)     With regard to Standing, a total greater than $228,000,000 was given by Bernie 

Sanders donors indirectly or directly to the DNC for October 2015 to June 2016. We 

have now learned from recent disclosures by DNC Chairwoman, Donna Brazille that a 

secret agreement was made between Hillary For America and the DNC in October of 

2015 to secretly sweep funds from the DNC before the first primary was even 

conducted in New Hampshire. Democratic Party members and Bernie Sanders donors 

relied on false assurances of a fair primary election cycle by the Defendant Debbie 

Wasserman Schultz and other DNC leaders. Donors and volunteers detrimentally relied 
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on these statements that DNC leaders including but not limited to Debbie Wasserman 

Schultz knew to be false, and this constitutes Fraud. 


5)    Upon information and belief, Defendant Haseeb Ranahas has been a long term 

friend of Defendant Imran Awan for a least eight years since Imran was employ at the 

US House of Representatives since at least 2009. Imran Awan was a key, long time aide 

to Congresswoman Debbie Wasserman Schultz, the leader of the Democratic Party. The 

Plaintiff asserts that Defendant Rana would have been made aware of all the 

Defendants coming to work in the United States Congress from Pakistan. Defendant 

Rana would have been aware that Defendant Imran Awan made over $160,000 a year 

without reporting to work every day to Capitol Hill. Defendant Rana would have 

known the Defendant Imran Awan and his brother, Defendant Abid Awan, who also 

made over $160,000 a year working for Congress, had been involved in a $1M 

bankruptcy of Cars International Inc in 2009, a car dealership in Falls Church, Virginia. 

She would have know Defendant Imran Awan was involved in an IT equipment 

swindle when Congressional phones were sent directly to his home by CDW-G in 

February of 2015. Defendant Rana would have know about Defendant Imran Awan’s 

and Defendant Abid Awan’s 7,000 illegal logins from October 2015 to August of 2016 

into the Democratic Caucus Server, sweeping money and NGP VAN data to Hillary For 

America. She would have know Abid Awan was banned from the House network 

access in September 2016 in the Congressional Federal Credit Union investigation. He 

would have know about the twenty Congressional burglaries on or about the 

Inauguration in January of 2017. He would have know Defendant Imran Awan, Hina 
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Alvi, and Jamal Awan were barred from the Congressional network in February 02017 

after a false server image was provided by Congressman Becerra to the Capitol Police. 

He would have know about illegal network access to Congressional servers on April 

6th, 2017 by Imran Awan. Defendant Rana may have been aware of the illegal 

123@mail.house.gov​ shared dropbox used by the Defendants which resulted in 

Terabytes of information flowing to Pakistan. He would have known Defendants Hina 

Alvi, Abid Awan, Jamal Awan, and Nataliia Sova were also making over $160,000 and 

not reporting to work on a daily basis. Defendant Rana would have known that he and 

Defendants Rao Abbas were handpicked surrogates of Imran Awan, working in the US 

Congress without proper security vetting. Defendant Rana, through numerous Capitol 

and Fairfax County Police reports, would have know Defendant Imran Awan and the 

member of this ring ran a classic RICO conspiracy to defraud the US Government and 

later the donors to the Democratic Party and the Bernie Sanders Campaign.   


5)     With regard to Defendant Rana’s claim there is no injury-in-fact, the Defendant 

would have been made aware that 7,000 illegal logins were made from October 2015 to 

August 2016 on the Democratic Caucus Server, holding the email and accounts of 45 

Members of the House of Representatives, sweeping donor’s money and NGP/VAN 

donor and volunteer information to Hillary For America. 

Consider, 


Becerra Tried To Block Server Admin Over Red Flags, But Logins Continued, With Muted 

Reaction 
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http://dailycaller.com/2017/12/11/becerra-tried-to-block-server-admin-over-red-flags

-but-logins-continued-with-muted-reaction/ 

At no time did Defendant Rana make the public aware of this potential theft of 

campaign volunteer or contribution information over an eleven month period of time 

which was her key responsibility of officers of the DNC and Hillary For America.   

According to FEC record, the Bernie Sanders Campaign raised $228,000,000.   




Defendant Rana knew members of the Democratic Party donating to Bernie Sanders 

were actually having their donations and volunteer information swept to Hillary For 

America in Brooklyn, New York. These misrepresentations of a fair election process, 

detrimental reliance on statements party leaders knew to be false, and resulting 

injury-in-fact constitute Fraud. By not making the public aware of this Fraud, 

Defendant Rana committed Fraud and breached his fiduciary duty to the American 
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people, and to members of the Democratic Party, and specifically to donors to the 

Bernie Sanders campaign. 


6)     The Plaintiff clearly has standing in that he donated to the Bernie Sanders 

Campaign three times, and he has added a proviso for other donors the were 

injured-in-fact in the Class Action provisions of the Complaint. Representation is being 

secured for these Classes of injured Defendants and will be available before Trial 

proceedings. In​ Sloan vs SEC (1978)​, a Pro See Attorney with only 13 shares of stock 

successfully contested a Supreme Court case. The Defense has quoted a flurry of 

distantly related case rather than address this binary fact of Standing or No Standing.   


With regard to showing Cause and showing Injury-In-Fact, consider the new evidence: 


       a)     A secret agreement between Hillary For America and the DNC which 

swept all DNC funds surreptitiously to Hillary For America was not known to 

contributors to the Bernie Sanders campaign or other Democratic Party contributors. 


       b)     A secret server was maintained by the Imran Awan and surrogates that 

was illegally logged into over 7,000 times between October 2015 and May 2016, 

potentially harvesting critical campaign donor and volunteer information from the 

NGP/VAN voter engagement system. 


       c)     In February of 2016, an investigation was triggered for Defendant Imran 

Awan falsifying procurement documentation from CDW-G and illegally having 

iPhones and iPad intended for members of the House sent to his home in Lorton, 
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Virginia. When this fact is coupled with Defendant Imran Awan’s long trips out of the 

country to Pakistan, this introduce the danger than the phones could be compromised 

with spyware overseas.  


       d)     An investigation into the Congressional Federal Credit Union led to the 

October 2016 firing of Abid Awan.   


       e)     Following twenty burglaries of Congress that has been attributed widely 

in the media to the Awans on or about the night of the Inauguration, Imran Awan, 

Jamal Awan, and Hina Alvi his wife were barred from the Congressional network. 


       f)     In March or April, a backpack belonging to Imran Awan was found in the 

Rayburn Office Building with hard drives and the laptops of Congresswoman Debbie 

Wasserman Schultz, in clear violation of the Congressional ban from the network.  


       g)     On March 6th, Hina Alvi, was stopped at Dulles Airport after having 

$12,000 case on her person, apparently fleeing the country after abrupting pulling her 

two children out of school.   


       h)     In October of 2017, a secret email account called 123@mail.house.gov to 

the Congressional network was discovered to still be active. Court records indicate 

Imran Awan used this email on multiple occasions. This would constitute a clear 

violation of the Congressional network. The email account, in fact, still may be in use. 


       i)     Now there is strong evidence suggesting Defendant Imran Awan may 

have been involved in laundering $200 million dollars a month to known terrorist 
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elements of Hezbollah for a drug ring in northern Virginia through a Cars International 

Inc. car dealership he owned in Falls Church, Virginia since 2008. Defendant Rana 

would have known about large money transfers from the Congressional Federal Credit 

Union, as well as the creation of fake employee account to launder large sums of cash 

for this operation. 


7)     The Plaintiff cites a numerous US government investigative reports which 

support the RICO conspiracy claim of Defendant Imran Awan and surrogates as well 

requesting local police reports that are germane to this case. Defendant Abedin would 

have know about these police reports over at least an eight year period, and she did not 

warn the American people or the member of the Democratic Party these individuals 

were intimately involved with the IT systems of the DNC. 


8)     Defendant Rana knew Defendant Imran Awan has been a closely trusted 

information technology consultant for Defendant Debbie Wasserman Schultz since at 

least 2006. In May of 2016, wikileaks reveals that ever the closest advisors of Mrs. 

Schultz did not have her iPad password in the middle of the hotly contested campaign, 

only Defendant Awan did. 


9)     The evidence for a RICO conspiracy between Defendants Imran Awan, Abid 

Awan, Hina Alvi, Nataliia Sova, Rao Abbas, and Haseeb Rana could not be clearer. The 

claim that a violation of the Computer Fraud and Abuse Act occurred here are equally 

relevant. Defendant Rana would have been aware of these laws and criminal activities, 

yet she did nothing to alert the public to these crimes over an eight year period. This 
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shrugging of critical responsibility constitutes a Breach of Fiduciary Duty in his role as 

an employee of the House of Representatives. 


10)    Defendant Rana would have been aware Defendant Imran Awan was not 

coming to work at Congress every day when he was drawing over $160,000 in salary. 


From the words of the Defendant Haseeb Rana’s own father, Defendant Haseeb Rana 

was the hands of the Imran Awan regarding his configuring phone, laptop, and email 

accounts for members of Congress. Defendant Haseed’s stated that Imran made 

Haseeb “do all the work”. 


Excerpt from the Daily Caller on June 26, 2017,  

http://dailycaller.com/2017/06/26/house-dems-hired-a-fired-mcdonalds-worker-as-t
heir-it-guy/ 




                                                                                               
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In a later article by the Daily Caller, Tanwir Rana asserted that Imran Awan had 

manipulated his son, Defendant Haseeb Rana.   




                                                                                          

In excerpts from the Daily Caller on June 26, 2017, Tanwir stated his son believed he 

was directly by Imran Awan. 


http://dailycaller.com/2017/06/26/house-dems-hired-a-fired-mcdonalds-worker-as-t
heir-it-guy/ 




                                                                                          
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11)    The Defense is trying to parse this RICO Conspiracy to shield the conspiracy 

here. Imran Awan is already under criminal indictment for bank fraud and conspiracy 

charges with his wife, Hina Alvi. The Defense is proffering a minor participant in the 

conspiracy in hopes of obfuscating the case.   


12)    Defendant Imran Awan has not responded to the Plaintiff’s numerous attempts 

to serve Defendant Imran Awan The Plaintiff has attempted Certified Mail, used a well 

know process server here in Washington, DC, Same Day Process, and employed an ex 

law enforcement officer and investigator that spoke with the occupants all four known 

addresses of the Defendant to attempt Service of the Defendant Imran Awan. The 

Defendant in question is currently under the High Intensity Supervision Program of 

this Court under indictment for Bank Fraud and Conspiracy charges and restricted to 

an area within 50 miles of this Court. Upon information and belief, an ex law 

enforcement officer and investigator, Jennifer Moore, spoke with Imran’s brother Omar 

at the 6314 Thomas Drive location in Springfield, Virginia on December 10th, 2017, and 

he stated that Imran frequented this location. Service has been attempted at this 

address numerous times. Here is a brief timeline of events of the RICO conspiracy. 
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    13)   Upon information and belief, the Defendant Imran Awan has been the subject of 

numerous police reports - both for the US Capitol Police and the Fairfax County Police. 

A simple production of documents with should already be public will quickly establish 

the RICO Conspiracy on the Computer Fraud and Abuse. 


I therefore motion for this Court to deny Defendant Rana’s Motion for Dismiss, given 

the clear Standing, Injury in Fact, Fraud, and Detrimental Reliance on the DNC and its 

actors. Additionally, I hereby motion the compel these compel these agencies with a 

Writ of Mandamus to produce all police reports from the Capitol Police and records 

related to the Defendant Imran Awan in an unredacted form. This Court can then begin 

the Discovery process of Requests For Admission, Interrogatories, and Depositions on 

a firm foundation of fact in the interest of judicial economy for this Court. 


Respectfully submitted,  

 

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